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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


                       TRUSTEE'S SUPPLEMENTAL REPORT

          FOLLOWING ORDER ENTERED ON DOCKET ON APRIL 11, 2018


     CASE NO.: A17-66980-SMS          JUDGE:    SIGLER

     DEBTOR(S): BARRY C. ALDERMAN AND KIM R. ALDERMAN


     TRUSTEE TO REPORT BACK

           WHETHER DEBTOR(S) PAYMENTS CURRENT

     THE TRUSTEE HAS REVIEWED THE CASE AS INSTRUCTED AND

          RECOMMENDS DISMISSAL BECAUSE: THE DEBTOR HAS FAILED
     TO COMPLY WITH THE PAYMENT TERMS OF THE ABOVE-STATED ORDER;
     THE TRUSTEE HAS NOT RECEIVED ANY PLAN PAYMENTS IN THIS CASE
     SINCE JULY 3, 2018.

           PLEASE ENTER ORDER OF DISMISSAL


     October 3, 2018


                                              /s
                                    K. Edward Safir, Esq.
                                    for Chapter 13 Trustee
                                    GA Bar No. 622149




     Mary Ida Townson, Chapter 13 Trustee
     Suite 2200– 191 Peachtree Street, N.E.
     Atlanta, Georgia 30303-1740
     (404) 525-1110
     eds@atlch13tt.com
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                                   Page 2 of 2




                                CERTIFICATE OF SERVICE



           This is to certify that I have this day served

     DEBTOR(S):

     BARRY C. ALDERMAN
     903 WHISTLER LANE
     CANTON, GA 30114

     KIM R. ALDERMAN
     903 WHISTLER LANE

     ATTORNEY FOR DEBTOR(S):

     SLIPAKOFF & SLOMKA, PC
     2859 PACES FERRY RD, SE
     STE 1700
     ATLANTA, GA 30339



     the above in the foregoing matter with a copy of this
     pleading by depositing same in the United States Mail in a
     properly addressed envelope with adequate postage thereon.

     This 3rd       day of October, 2018

                    /s
     K. Edward Safir, Esq.
     for Chapter 13 Trustee
     GA Bar No. 622149




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